                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
          Plaintiff,                             )
                                                 )
 v.                                              )    NO. 3:16-cr-00147-10
                                                 )
 BRENDA MCGINNIS,                                )
                                                 )
          Defendant.                             )

                                 MEMORANDUM OPINION

         Brenda McGinnis moves for compassionate release based on the increased risk of COVID-

19 related illness presented by her obesity and hypertension. (Doc. Nos. 472 at 8; 506; 509.) The

Government opposes her Motion, (Doc. No. 483), and asserts that she should serve the remainder

of her 150-month sentence imposed after pleading guilty to conspiracy to distribute and possess

with intent to distribute methamphetamine. (Doc. No. 395.) She has exhausted available

administrative remedies. (Doc. No. 472-2.) For the following reasons, her Motion will be denied.

         The Court may grant compassionate release based on “extraordinary and compelling

reasons,” including where the defendant is suffering a “serious physical or medical condition” that

substantially diminishes her ability to provide self-care in prison. 18 U.S.C. § 3582(c)(1)(A);

U.S.S.G. § 1B1.13 n.1(A)(ii). This may include a condition that increases her risk of COVID-19

and is poorly controlled. United States v. DeMille, ___ F. Supp. 3d ___, 2020 WL 2992190, at *4

(D. Or. June 4, 2020).

         It is true that obesity places Ms. McGinnis at risk of severe complications should she

contract COVID-19, and essential hypertension “might” increase her risk, according to the Centers

for Disease Control and Prevention (“CDC”). CDC, People with Certain Medical Conditions,




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(updated     Nov.      2,    2020),     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html. However, at present there is no medical basis

of any ill-effects from her weight, and her blood pressure continues to be in a healthy range even

without medication. (Doc. No. 472 at 33.) At bottom, Ms. McGinnis is obese and has hypertension,

but those diagnoses alone do not suffice for compassionate release because “hypertension and

obesity, in combination with COVID-19, do not constitute extraordinary and compelling reasons

for compassionate release.” United States v. McKinnie, No. 1:16CR304, 2020 WL 5087058, at *2

(N.D. Ohio Aug. 27, 2020); United States v. Wilfred, 2020 WL 4365531, *4–5 (E.D. La. July 30,

2020) (“courts have found that obesity—alone or paired with hypertension—does not provide

adequate grounds for compassionate release”). Ms. McGinnis’ obesity and hypertension, based

upon the medical records before the Court, do not reach the level of a serious physical or medical

condition.

       Her other medical conditions also do not present a basis for compassionate release. She has

been diagnosed with migraines and takes Propranolol that is helping. (Doc. No. 485 at 11.) She

also has sleep apnea, (id. at 40), and Bureau of Prisons (“BOP”) doctors are monitoring a benign

mass found on a recent routine mammogram that will be followed up on in six months, (id. at 1,

7). Her knee pain is managed by pain medicine, (id. at 6), and this orthopedic issue has no impact

on her other health concerns or her risk of COVID-19. United States v. Binday, No. 12 CR 152

(CM), 2020 WL 4017822, at *5 (S.D.N.Y. July 16, 2020) (finding that various orthopedic issues

that were monitored and treated in prison were not serious physical or medical conditions). The

BOP is proactively monitoring her mammograms and the benign mass. Additionally, the BOP is

treating her migraines with medicine, their severity is decreasing (Doc. No. 485 at 3), and

migraines do not expose her to any increased threat of illness should she contract COVID-19.



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Binday, 2020 WL 4017822, at *6 (finding that migraines treated by the BOP was not a basis for

compassionate release). Finally, the CDC has not identified sleep apnea as presenting an increased

risk of COVID-19, nor has Ms. McGinnis shown that it impacts her overall health. United States

v. Schlifstein, No. 18-CR-217 (KMW), 2020 WL 2575633, at *2 (S.D.N.Y. May 21, 2020)

(denying compassionate release to 51-year-old with sleep apnea and hypertension). None of these

conditions substantially diminish her ability to provide self-care and are not “serious physical or

medical conditions.”

       Ms. McGinnis also argues that the open living arrangement and difficulty social distancing

at FCI Victorville Medium II makes it more likely that she will be exposed to COVID-19. (Doc.

Nos. 474 at 9–10; 509 at 2–3.) As of November 5, 2020, four inmates and four staff members are

reported positive for COVID-19 at this facility. Bureau of Prisons, COVID-19 Cases,

https://www.bop.gov/coronavirus/ (last visited Nov. 5, 2020). Thus, the BOP appears to be

controlling the virus from entering and spreading in this facility with over 1,000 inmates. In any

event, the risk of contracting COVID-19 at her facility alone is not a sufficient basis for

compassionate release. See United States v. Brown, No. CR SAG-10-0344, 2020 WL 3833284, at

*3 (D. Md. July 8, 2020) (“The fact that COVID-19 is present in a correctional facility is not alone

sufficient to qualify an inmate for compassionate release”).

       Accordingly, Ms. McGinnis’ Motions for compassionate release (Doc. No. 472, 506 and

509) will be denied.

       An appropriate order will enter.

                                              ____________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




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